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 4

 5
                          IN THE UNITED STATES DISTRICT COURT
 6
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8                                         ) Case No.: 2:07-cr-00449-MCE
     United States of America,             )
 9                                         )
                   Plaintiff,              ) STIPULATION AND ORDER TO CONTINUE
10                                         ) STATUS CONFERENCE
             vs.                           )
11                                         ) Court: Hon. Morrison C. England
     Jasmin Butts, et. al.                 ) Time:   9:00 a.m.
12                                         ) Date:   January 31, 2008
                   Defendants              )
13

14

15
             Defendant Jasmin Butts, Jasmin Carmichael, Ebony Cromell, Darcell
16
     Epps and Tiffany Pippins, by and through their undersigned counsel and
17
     the United States, by and through Assistant United States Attorney
18
     Kyle Reardon hereby agree and stipulate that the status conference
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     previously scheduled for December 6, 2007 be continued to January 31,
20
     2008.    The defendants are charged in an indictment alleging eight
21
     counts of a violations of 18 U.S.C. §371 – Conspiracy; 18 U.S.C. §
22
     1344(2) – Bank Fraud and 18 U.S.C. § 1028A(a)(1) – Aggravated Identity
23
     Theft.    Jasmin Butts had counsel appointed on November 29, 2007.
24
     Counsel has not yet obtained discovery.      All parties agree that it is
25
     an appropriate exclusion of time to allow counsel to obtain and review
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     discovery and prepare the case. The parties are involved in defense
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     investigation, as well as negotiations and the defendant request that
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 1   the current status conference be continued to January 31, 2008, if

 2   that date is available with the Court.

 3         The parties agree that time should be excluded under 18 U.S.C. §

 4   3161(h)(8)(i) for defense preparation and under local code T4.

 5
     Dated: December 3, 2007           Respectfully submitted,
 6

 7
                                       __/s/ Shari Rusk___
 8                                     Shari Rusk
                                       Attorney for Defendant
 9                                     Jasmin Butts

10                                     /s/ Krista Hart
                                       Krista Hart
11                                     Attorney for Defendant
                                       Tiffany Pippins
12
                                       /s/ Dina Santos
13
                                       Attorney for Defendant
14                                     Ebony Cromwell

15                                     /s/ Matt Bockmon
                                       Attorney for Defendant
16                                     Jasmin Carmichael

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 1
                                       /s/ Tim Warriner
 2                                     Attorney for Defendant
                                       Darcell Epps
 3

 4
                                       /s/ Kyle Reardon
 5                                     Assistant United States Attorney

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 7                                     ORDER

 8

 9        IT IS SO ORDERED.    The Court finds excludable time through

10   January 31, 2008, based on Local Code T4, giving counsel reasonable

11   time to prepare.

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13   DATED: December 6, 2007

14                                  __________________________________
                                    MORRISON C. ENGLAND, JR
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                                    UNITED STATES DISTRICT JUDGE
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